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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS



___________________________                       §
                                                  §
Plaintiff                                         §
                                                  §
                                                  §
                                                  §              ___________________________
v.                                                §
                                                  §              Case Number
                                                  §
___________________________                       §
                                                  §
Defendant                                         §


                NOTICE AND ELECTION REGARDING CONSENT TO PROCEED
                     BEFORE A UNITED STATES MAGISTRATE JUDGE


In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned notifies the clerk that

______________________________                        ________________________________

Party Name                                            Party Role (Plaintiff or Defendant)


_____ waives the right to proceed before a district judge of the United States District Court and consents to

have a United States magistrate judge conduct any and all further proceedings, including any trial, and

order entry of a final judgment.

_____ acknowledges the availability of a United States magistrate judge to try this case or rule on

dispositive motions but chooses not to consent to proceed before the magistrate judge.

                                                      Signature: _________________________________
Date: ___________________________

                                                      Bar Number (if attorney): _____________________


                                                      Telephone Number: _________________________


                                                      E−mail Address: ____________________________



NOTE: A district judge or a magistrate judge will not be informed of any party's election unless all parties
have consented to the reassignment of the matter to a magistrate judge.
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                     TRIALS BY THE UNITED STATES MAGISTRATE JUDGE

In accordance with 28 U.S.C. § 636(c)(1) and Fed. R. Civ. P. 73(b), upon consent of all parties in a civil
case, the district judge may enter an order reassigning the civil case to a magistrate judge. Miscellaneous
Order No. 6 of the Northern District of Texas provides that it is the plaintiff's obligation to attach a copy of
this notice to the complaint and summons, when served.



                    NOTICE OF RIGHT TO CONSENT TO PROCEED BEFORE
                          A UNITED STATES MAGISTRATE JUDGE

The Court has experienced, competent, and hard−working magistrate judges who are available to try jury
and non−jury civil cases pursuant to 28 U.S.C. § 636(c). Consent to proceedings before a magistrate judge
may allow you to expedite the handling of your case.

You may consent to the exercise of civil jurisdiction over your case by a magistrate judge. If all parties
involved in your case consent, the presiding district judge may reassign your case to a magistrate judge.

Your decision to consent to the reassignment of your case to a magistrate judge, or not to consent, is
entirely voluntary and without any adverse consequences if you choose not to consent. Your decision
should be communicated to the clerk of the district court using Notice and Election Regarding Consent to
Proceed Before a United States Magistrate Judge form. A district judge or magistrate judge will not be
informed of any party's decision unless all parties have consented to the reassignment of the matter to a
magistrate judge.

Even if all parties consent to the exercise of civil jurisdiction by a magistrate judge, the district judge may
choose not to enter an order reassigning the case to a magistrate judge. However, if the district judge
reassigns your case to the magistrate judge, the magistrate judge is then authorized to conduct any or all
proceedings in the case, including a jury or non−jury trial, and order the entry of a final judgment. Upon
entry of judgment by the magistrate judge in any case transferred under 28 U.S.C. § 636(c)(1), 28 U.S.C. §
636(c)(3) provides that "an aggrieved party may appeal directly to the appropriate United States court of
appeals from the judgment of the magistrate judge in the same manner as an appeal from any other
judgment of a district court."

IMPORTANT NOTE: This submission is not treated as a filing in ECF, so the consent form will not
appear on the docket sheet.
